This is a prosecution for embezzlement of public money, in violation of sections 903 and 904 of the Revised Statutes, articles 912 and 913 of Dart's Criminal Statutes. The State is appealing from a judgment maintaining a motion to quash the indictment and dismissing the prosecution.
The allegations of the indictment are substantially the same as in the other case against this defendant, No. 36,746, of the docket of this court, decided today. 14 So. 2d 439.1 In this case the date of the alleged embezzlement was April 18, 1938; the amount alleged to have been embezzled is $185; the amount of the check drawn by the defendant and the president of the Police Jury was said to be for $900; and the purpose for which the check was drawn was said to be to pay the expenses of the members and the secretary of the Police Jury in attending a convention in Shreveport on April 18, 19, and 20, according to the bill of particulars. Another difference between this case and the case No. 36,746 is that in this case the check for $900 was made payable to the order of "A.J. Manouvrier, Secy." And in the case No. 36,746 the check for $960 was *Page 558 
made payable to A.J. Manouvrier. The fact that the check was made payable to "A.J. Manouvrier, Secy.," and that the purpose of the appropriation of the $900 was to pay the expenses of the secretary, as well as the members, of the Police Jury was not made a ground for the motion to quash the indictment; and we consider that difference between this case and the other case as a matter of no importance, because the defendant is not charged with embezzlement of the check, but is charged with embezzlement of $185 of the proceeds, amounting to $900, which he received when he cashed the check.
For the reasons given in the case entitled State of Louisiana v. Antoine J. Manouvrier, supra, the judgment appealed from in this case is reversed, the motion to quash the indictment is overruled, and the case is ordered remanded to the district court for further proceedings.
HIGGINS, J., concurs in the decree.
FOURNET and PONDER, JJ., dissent.
1 203 La. 541.